Case: 1:21-mj-00038

Assigned to: Judge Robin M. Meriweather
Assigned Date: 1/12/2021

Description: COMPLAINT W/ARREST WARRANT

STATEMENT OF FACTS
IN SUPPORT OF CRIMINAL COMPLAINT AGAINST
ALBERT A. CIARPELLI

. Your affiant is a Special Agent with the Federal Bureau of Investigation. I am authorized by
law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24 hours
a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people
with appropriate identification are allowed access inside the U.S. Capitol.

. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the public.

. On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular
objection. Vice President Mike Pence was present and presiding, first in the joint session, and
then in the Senate chamber.

. As the proceedings continued in both the House and the Senate, and with Vice President Mike
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the
U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

. Atapproximately 2:00 p.m., certain individuals in the crowd forced their way through, up, and
over the barricades, and officers of the U.S. Capitol Police, and the crowd advanced to the
exterior fagade of the building. The crowd was not lawfully authorized to enter or remain in
the building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks by U.S. Capitol Police Officers or other authorized security
officials.

. Atsuch time, the certification proceedings still underway and the exterior doors and windows
of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.
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Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals
who had entered the U.S. Capitol without any security screening or weapons check,
Congressional proceedings could not resume until after every unauthorized occupant had left
the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at
approximately 8:00 p.m. after the building had been secured. Vice President Pence remained
in the United States Capitol from the time he was evacuated from the Senate Chamber until
the session resumed.

During national news coverage of the aforementioned events, video footage which appeared
to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.

The Metropolitan Police Department (MPD), Criminal Investigative Division, issued a 29 page
be on the look-out (BOLO) bulletin to the public seeking to identify individuals depicted in
images who made unlawful entry into the U.S. Capitol Building on Wednesday, January 6,
2021. The Federal Bureau of Investigation (FBI) issued similar bulletins to the public
requesting assistance from the public in identifying the individuals depicted in the same
images.

On Friday, January 8, 2021, the FBI, Albany Division, Syracuse Resident Agency was
contacted by the U.S. Marshals Service (USMS) and provided with the name of William
“Billy” Sullivan (Sullivan), defense attorney for ALBERT A. CIARPELLI (CIARPELLD, of
Syracuse, New York, date of birth (DOB) J. Sullivan stated that he called the
USMS because he believed that his client, CIARPELLI, had an outstanding arrest warrant for
having made unlawful entry into the U.S. Capitol Building on January 6, 2021. Sullivan was
referred to the FBI and was contacted by Special Agent (SA) Harrison Crow by phone.

Sullivan initially advised SA Crow that CIARPELLI was in Washington D.C. and participated
in the protests but did not make entry into the U.S. Capitol. Later the same day, Sullivan spoke
with SA Crow, again by phone, and advised that CIARPELLI may have been in the U.S.
Capitol during the riots as publicly available images and/or video pictured CIARPELLI doing
the same. According to Sullivan, CIARPELLI called Sullivan after CIARPELLI's neighbor
informed CIARPELLI that he was pictured on the news as one of the individuals who made
unlawful entry into the U.S. Capitol. CIARPELLI’s neighbor believed that the FBI had an
arrest warrant for CLIARPELLI.

On January 8, 2021, the Central NY News posted an article on the internet located at uniform
resource locator (URL): https://www.syracuse.com/news/2021/01/syracuse-man-appears-as-
person-of-interest-by-fbi-and-dc-police-investigating-us-capitol-riot.html. The article
identified the individual in one of the photos circulated by law enforcement as CIARPELLI, a
longtime Central New York resident who owns real estate in the surrounding area. According
to the article, CLIARPELLI was contacted by phone for an interview but had Sullivan contact
the news outlet on his behalf. Sullivan advised the news outlet that CIARPELLI was at the
protests in Washington D.C. but had done nothing illegal while there. Sullivan was provided
with two images by the news outlet of CIARPELLI, along with other individuals, in the
hallway near the Senate chamber. Sullivan advised that he would need to consult further with
his client before commenting.

14. In the photos from inside the Capitol on January 6, CIARPELLI’s face can be clearly seen, as
he was wearing no face or head covering. A comparison of CIARPELLI's New York State
driver’s license photo (taken on August 23, 2019) and the MPD BOLO photo, as well as the
photos produced by the news outlet, positively identifies CIARPELLI as the subject pictured
in the BOLO and the other photos produced by the news outlet. Specifically, CIARPELLI is a
white male with all grey hair and a distinct curl on the right forehead portion of his hairline.

15. On January 10, 2021, in Syracuse, New York, CIARPELLI was interviewed by Agents of the
FBI from the Albany Division and the Washington Field Office in the presence of his defense
attorney, Sullivan. Agents informed CIARPELLI at the outset of the interview that it was

voluntary, that he was free to leave, and that he was not under arrest, and at the conclusion of
the interview CIARPELLI in fact left.

16. During the interview, Agents showed CIARPELLI photos from inside the U.S. Capitol on
January 6, 2021. CIARPELLI identified himself in the following three photos! (with red
arrows added later, to single out the particular person in the photo):

 

 

1. Please be aware that on January 11, 2021, I spoke with a tipster who had sent a tip to the FBI
identifying the BOLO photo of CIARPELLI as a person other than CIARPELLI.
 

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CIARPELLI told Agents that he learned of the Trump rally on that would be occurring on
January 6, 2021, from television ads that he had seen prior to that day. CIARPELLI had
attended at least one Trump rally previously in Washington D.C. in November of 2020.
CIARPELLI attended that rally alone.

CIARPELLI told Agents that on January 5, 2021, CIARPELLI traveled to Washington D.C.
alone in his Nissan Frontier to attend the Trump rally the following day. He left his home in
Syracuse, New York, at approximately 5 a.m. and drove southbound on Interstate 81 toward
Washington D.C. CIARPELLI arrived at his hotel, the State Plaza Hotel located at 2117 E
Street NW, Washington D.C., between 11 and 11:30 a.m. and checked in. He parked his vehicle
in the hotel garage where it remained until he left Washington D.C. on January 7, 2021 to
return home to Syracuse, New York. CIARPELLI selected the hotel because it was
inexpensive, and it was within walking distance to the rally. CLARPELLI did not meet up with
anyone in Washington D.C. for the rally nor did he socialize much with others who attended.

CIARPELLI told Agents that on January 6, 2021, CLIARPELLI walked from his hotel to attend
the rally. He was at the rally for approximately two to three hours. After the rally, he and the
other attendees walked down Pennsylvania Avenue toward the U.S. Capitol where the protest
ensued. CIARPELLI followed a group of people who broke through the crowd at the protest
and made his way up toward the entrance of the U.S. Capitol. When he arrived at the Capitol
entrance, he found a small door to the right of the main entrance to the building that was wide
open. The door was ajar and some of the glass in the door was broken. CIARPELLI told Agents
that he then did something that he knew he should not have and made his way into the building.

CIARPELLI told Agents that CLARPELLI walked into the building and began taking pictures
from his phone. He made his way up the staircase to the second floor of the building and took
a picture of a painting of President Andrew Jackson, whom CIARPELLI admires. CIARPELLI
observed approximately 10 to 15 protestors on the second floor with him as well as five to six
law enforcement officers. CIARPELLI took his time making his way through the building
taking pictures and looking at the states. He had never been in the building before and he was
sight-seeing. CIARPELLI considered his time in the U.S Capitol to be a “little adventure.”
During a portion of the time he was in the U.S. Capitol, CIARPELLI was close in proximity
to another male protestor who was noticeably more aggressive and worked up.

CIARPELLI told Agents that CIARPELLI was in the U.S. Capitol for approximately 15
minutes when he got the feeling that he should not be there and decided to leave. While inside,
CIARPELLI observed other protestors who were wearing para-military clothing. Some had
helmets and body armor. Some had on green military style pants. One protestor with a bare
chest, face paint, and wearing horns on his head did not seem right, was getting rowdy, and
seemed like he was trouble.

CIARPELLI told Agents that he decided to leave the U.S. Capitol the same way he entered,
but when he tried to leave the building he got caught up in a mob that was pushing its way into
the building. CIARPELLI was able to make his way out a short time later. He then returned to
his hotel and prepared to leave for New York the next morning. When thinking back to what
occurred that day CIARPELLI stated that he was out of his mind and had never done anything
like that before.
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CIARPELLI told Agents that CLARPELLI owns a vacation home in the greater Tampa, Florida
area where his wife resides during the winter months. The two have children and grandchildren
in Florida. CIARPELLI periodically joins his wife throughout the winter in Florida travelling
from New York where he remains to manage rental/income properties that he owns.

CIARPELLI told Agents that, prior to the inauguration on January 20, 2021, CIARPELLI
intended to travel to join his wife in Florida at their vacation home. CIARPELLI then planned
to return to Washington D.C. for the inauguration of, who he anticipated would be, President
Trump. He purchased flights on October 28, 2020 for travel on January 19, 2021 from Tampa
to DCA, with a returning flight from DCA to Tampa on January 22, 2021. He purchased the
same flights for his wife and one other individual on the same credit card. CIARPELLI told
Agents that he recently cancelled his travel for the inauguration.

According to a database search, CIARPELLI’s personal vehicle, a black 2014 Nissan Frontier
pick-up truck, was photographed traveling southbound on Interstate 81 in Binghamton, New
York on January 5, 2021 at 5:24 a.m., the day prior to the protest/riot. The same vehicle was
photographed traveling northbound in Binghamton, New York at 11:07 a.m. on January 7,
2021, the day after the protest/riot.

Based on the foregoing, your affiant submits that there is probable cause to believe that
CIARPELLI violated 18 U.S.C. § 1752(a)(1) and (2), which make it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity
to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes
a posted, cordoned off, or otherwise restricted area of a building or grounds where the President
or other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

Your affiant submits there is also probable cause to believe that CIARPELLI violated 40
U.S.C. § 5104(e)(2)(D), (E), and (G), which make it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,
or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (E) obstruct, or impede passage through or within, the
Grounds or any of the Capito] Buildings; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.
SPECIAL AGENT CAMERON MIZELL

FEDERAL BUREAU OF
INVESTIGATION

 

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 12th day of January 2021. Robin M. Meriweather

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ROBIN M. MERIWEATHER
U.S. MAGISTRATE JUDGE

 

 
